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IN THE UNITED sTATES DISTRICT coURT -
FOR THE wESTERN DISTRICT oF TENEBSA@QEQL, PH 3: 15
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RUBY S. JOHNSON,
Plaintiff ,

vs. No. 05-2318-Ma/V

IKE'S, et al.,

Defendants.

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ORDER GRANTING LEAVE TO PROCEED l§ FORMA PAUPERIS
ORDER DENYING APPOINTMENT OF COUNSEL
ORDER OF PARTIAL DISMISSAL
AND
ORDER TO ISSUE AND EFFECT SERVICE OF PROCESS

 

Plaintiff Ruby S. Johnson filed a ppg §§ complaint
pursuant to Title VII of the Civil Rights Act of 1964, 42 U.S.C. §
2000e pp §§gp, on May 2, 2005, along with a motion seeking leave to
proceed ip fp;ma pauperis. The Court issued an order on July 11,
2005 directing the plaintiff, within thirty days, to file a
properly completed ip fp;ma pauperis affidavit or pay the civil
filing fee. Plaintiff filed another in fp;ma pauperis affidavit on
July 18, 2005. Based on the information contained in the
plaintiff’s affidavit, the motion to proceed ip fp;ma pauperis is
GRANTED. The Clerk shall record the defendants as Ike's, Jeff

Patterson, and Matt Ingram.

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The plaintiff has filed a motion seeking appointment of
counsel. Two statutes authorize the district court to request or
appoint counsel for an indigent Title VII plaintiff. Twenty-eight
U.S.C. § 1915(d) provides that the “court may request an attorney
to represent any such person unable to employ counsel.”1 Similarly,
under 42 U.S.C. § 2000e-5(f)(l), “upon application by the

complainant and in such circumstances as the court may deem just,

the court may appoint an attorney.” However, “[t]here is no
constitutional or . .. statutory right to counsel in federal civil
cases.” Farmer v. Haas, 990 F.2d 319, 323 (7th Cir. 1993).

Generallyg a court will only appoint counsel in exceptional
circumstances. Willett v. Wells, 469 F. Supp. 748, 751 (E.D. Tenn.
1977). Although “no comprehensive definition of exceptional
circumstances is practical,” Branch v. Cole, 686 F.2d 264, 266 (Sth
Cir. 1982), courts resolve this issue through. a fact-specific
inquiry. Wilborn v. Escalderon, 789 F.2d 1328, 1331 (9th Cir.
1986). Examining the pleadings and documents in the file, the Court
analyzes the merits of the claims, the complexity of the case, the
ppg §§ litigant’s prior efforts to retain counsel, and her ability
to present the claims. Henrv v. Citv of Detroit Mannower Den't, 763
F.2d 757, 760 (6th Cir. 1985); Wiggins v. Sarqent, 753 F.2d 663,

668 (Bth Cir. 1985).

 

1 However, “§ 1915(d) does not authorize the federal courts to make

coercive appointments of counsel” to represent indigent civil litigants. Mallard

v. United States Dist. Court, 490 U.S. 296, 310 (1989).
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As a general rule, counsel should be appointed in civil
cases only if a litigant has made “a threshold showing of some
likelihood of merit.” Cooner v. A. Sarqenti Co., 877 F.2d 170, 174
(2d Cir. 1989).2 At this stage of the proceedings, before the Court
has had the opportunity to assess the strength of plaintiff’s case,
the Court is unable to conclude that plaintiff has satisfied that
standard. Moreover, a review of this complaint indicates that the
case is not so complex that the Court should exercise its
discretion to appoint counsel. Accordingly, the motion for
appointment of counsel is DENIED.

The Court is required to screen ip fp;mg pauperis
complaints and to dismiss any complaint, or any portion thereof, if
the action-

(i) is frivolous or malicious;

(ii) fails to state a claim on which relief may be
granted; or

(iii) seeks monetary relief against a defendant who
is immune from such relief.

28 U.S.C. § 1915(e)(2). One aspect of plaintiff's complaint is
subject to dismissal.
There is no remedy under Title VII against a co-worker or

supervisor in his or her individual capacity. Wathen v. General

 

2 The Second Circuit elaborated: “C.'ourts do not perform a useful
service if they appoint a volunteer lawyer to a case which a private lawyer would
not take if it were brought to his or her attention. Nor do courts perform a
socially justified function when they request the services of a volunteer lawyer
for a meritless case that no lawyer would take were the plaintiff not indigent."
Id.

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Electric Co., 115 F.3d 400, 405 (6th Cir. 1997). Accordingly, the

 

Court DISMISSES the complaint against defendants Patterson and
Ingram, pursuant to 28 U¢S.C. § 1915(e)(2)(B)(ii), for failure to
state a claim on which relief may be granted.

It is ORDERED that the Clerk shall issue process for the
remaining defendant, Ike’s, and deliver said process to the marshal
for service. A copy of this order shall be served on the defendant
along with the summons and complaint. Service shall be made on the
defendant pursuant to Fed. R. Civ. P. 4(h)(1). All costs of service
shall be advanced by the United States.

lt is further ORDERED that the plaintiff shall serve a
copy of every further document filed in this cause on the attorney
for the defendant, or on the defendant if it has no attorney. The
plaintiff shall make a certificate of service on every document
filed. The plaintiff shall familiarize herself with the Federal
Rules of Civil Procedure and this Court's Local Rules.

The plaintiff shall promptly notify the Clerk of any
change of address or whereabouts. Failure to comply with these
requirements, or any other order of the Court, may result in this
case being dismissed without further notice.

IT Is so oRDERED this '*"3°[ day of August, 2005.

ldf/m

SAMUEL H. M.AYS, JR.
UNI'I'ED STATES DISTRICT JUDGE'

 

   

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Notice of Distribution

This notice confirms a copy of the document docketed as number 5 in
case 2:05-CV-023 l 8 Was distributed by faX, mail, or direct printing on
August 29, 2005 to the parties listed.

 

Ruby S. Johnson

91 N. Belvedere

Apt. 15

i\/lemphis7 TN 3 8104

Honorable Samuel Mays
US DISTRICT COURT

